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                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA
____________________________________
                                    )
JASON LEOPOLD,                      )
                                    )
                  Plaintiff,        )
v.                                  )   Civil Action No. 1:14-cv-1760 (TSC)
                                    )
DEPARTMENT OF STATE,                )
                                    )
                  Defendant.        )
____________________________________)

                                 JOINT STATUS REPORT

      The parties, by undersigned counsel, respectfully submit this joint status report.

      Since the last status report, and in accordance with the agreed schedule, the Department of

State issued a production on January 17, 2023. The Department processed 258 records, totaling

2,046 pages, for this production. This rate of production satisfies the Department’s commitment

to review an average of 500 pages per month, and to make best efforts to review 700 pages per

month. The Department anticipates making its next production on February 21, 2023.

      The parties will file their next Joint Status Report on March 30, 2023.



Dated: February 13, 2023                            Respectfully submitted,

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                                                    Principal Deputy Assistant Attorney General

                                                    ELIZABETH J. SHAPIRO
                                                    Deputy Branch Director

                                                    /s/ Michael Drezner
                                                    Michael Drezner
                                                    Trial Attorney (Virginia Bar No. 83836)
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